Case 7:12-cr-00042-MFU                Document 519 Filed 09/13/16                    Page 1 CLERK'S
                                                                                            of 2 OFFICE
                                                                                                    Pageid#:
                                                                                                         U.S. D\ST. COURT
                                                2305                                                    AT ROANOKE. VA
                                                                                                             FILED

                             IN THE UNITED STATES DISTRICT COURT                                         SEP 13 2016
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      ROANOKE DIVISION

UNITED STATES OF AMERICA                              )        Case No. 7:12-cr-00042-2
                                                      )
v.                                                    )        ORDER
                                                      )
KIA NICOLE MANNING,                                   )        By:      Hon. Michael F. Urbanski
     Defendant.                                       )                 United States District Judge

        The court sentenced Kia Nicole Manning in March 2013, and she did not appeal. Presently

before the court are Manning's three motions seeking to reduce her sentence pursuant to 18 U.S.C.

§ 3582(c). For the following reasons, these three motions are DENIED.

        In the first motion, Manning requests "a modification of [her] sentence pursuant to 18

U.S.C. § 924(e)(2)(B)(ii)[,] the new guideline amendment to the United States Sentencing

Guidelines[.]" However, no such retroactive amendment applies to that code section, and the first

motion (ECF No. 507) is DENIED. 1

         In the second motion, Manning requests that her sentence be reduced "in regards to

Amendment 794."2 Although Amendment 794 has been held to apply retroactively to cases on

direct review, Manning does not provide authority suggesting it applies retroactively after her time

to pursue a direct appeal had expired. See, e.g., U.S.S.G. § 1B1.10(d); United States v. Quintero-

Leyya, 823 F.3d 519, 523 (9th Cir. 2016). Accordingly, the second motion (ECF No. 515) is

DENIED.

         In the third motion, Manning files her "second attempt" to reduce her sentence pursuant to

Amendment 782. The court had already granted her first request on May 27, 2016, and reduced her

sentence from 151 months to 121 months' imprisonment. Accordingly, the third motion (ECF No.


         1
           The court had construed the request as a motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C.
§ 2255. However, Manning did not consent to that construction, and consequently, the court will not treat the motion as
pursuant to § 2255. See, e.g., Castro v. United States, 540 U.S. 375, 383 (2003).
         2
           Amendment 794 concerns the commentary to United States Sentencing Guideline § 3B 1.2 about being a
"minor participant" in criminal activity.
Case 7:12-cr-00042-MFU              Document 519 Filed 09/13/16                   Page 2 of 2        Pageid#:
                                              2306

518) is DENIED as moot. 3

        The Clerk shall SEND a copy ofthis Order and the Order entered on May 27, 2016, to

Manning.

        It is so ORDERED.

        ENTER: This       q~y of September, 2016.
                                                                1~1 '11?-io4t:f,d f. Z4~
                                                                                                         ~
                                                                      United States District Judge




        3
           To the extent Manning is asking the court to reconsider the Order granting relief under Amendment 782, the
court lacks jurisdiction to do so. See, e.g., United States v. Goodwyn, 596 F.3d 233 (4th Cir. 2010).
                                                          2
